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                      EXHIBIT A
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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                             LUFKIN DIVISION

DANIE L. BELL,                              §
                                            §
       Plaintiff,                           §
                                            §    CIVIL ACTION NO. 9:21-CV-140
v.                                          §
                                            §       JURY TRIAL DEMANDED
TYSON FOODS, INC.,                          §
                                            §
       Defendant.                           §
                                            §


           INFORMATION PURSUANT TO LOCAL RULE CV-81(c)


(1)   A list of all parties in the case, their party type (e.g., plaintiff, defendant,
intervenor, receiver, etc.) and current status of the removed case (e.g., pending,
dismissed);

Danie L. Bell
Plaintiff

Tyson Foods, Inc.
Defendant

The removed case is currently pending.

(2)    A civil cover sheet and a certified copy of the state court docket sheet; a copy of
all pleadings that assert causes of action (e.g. complaints, amended complaints,
supplemental complaints, counterclaims, cross-actions, third party actions,
interventions, etc.); all answers to such pleadings and a copy of all process and orders
served upon the party removing the case to this court, as required by 28 U.S.C. §
1446(a);

See attached civil cover sheet and documents attached to Defendant Tyson Foods,
Inc.'s Notice of Removal as Exhibit A.

(3)   A complete list of attorneys involved in the action being removed, including
each attorney's bar number, address, telephone number and party or parties
represented by him/her;

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Counsel for Defendant Tyson Foods, Inc.

(4)    A record of which parties have requested a trial by jury (this information is in
addition to filing a separate jury demand pursuant to Local Rule CV-38(a)); and

Plaintiff, Danie L. Bell
Defendant, Tyson Foods, Inc.

(5)   The name and address of the court from which the case is being removed.

The 273rd Judicial District Court of Shelby County, Texas
200 San Augustine Street


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Center, TX 75935




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